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 8
                                  UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
10
     THERESA SWEET, ALICIA DAVIS, TRESA                Case No.: 19-cv-03674-WHA
11   APODACA, CHENELLE ARCHIBALD,
     DANIEL DEEGAN, SAMUEL HOOD, and
12   JESSICA JACOBSON on behalf of themselves
     and all others similarly situated,                [PROPOSED] ORDER GRANTING
13
                                                       PLAINTIFFS’ MOTION FOR
14                  Plaintiffs,                        SUMMARY JUDGMENT

15                  v.

16   MIGUEL CARDONA, in his official capacity
     as Secretary of the United States Department of
17
     Education, and
18
     THE UNITED STATES DEPARTMENT OF
19   EDUCATION,
20                  Defendants.
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                                                 [Proposed] Order on Plaintiffs’ Motion for Summary Judgment
                                                                                  Case No.: 19-cv-03674-WHA
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 1          Plaintiffs Theresa Sweet, Alicia Davis, Tresa Apodaca, Chenelle Archibald, Daniel

 2   Deegan, Samuel Hood, and Jessica Jacobson and the Class (Plaintiffs) filed a motion for summary

 3   judgment. Defendants Miguel Cardona, in his official capacity as Secretary of the United States

 4   Department of Education, and the Department of Education filed an opposition to Plaintiffs’

 5   motion, and Plaintiffs filed a reply.

 6          Having considered the above motions, and all memoranda, declarations, exhibits,

 7   oppositions, replies, and oral argument, along with the administrative record and other material

 8   filed in this case, the Court ORDERS AS FOLLOWS:

 9              1. Plaintiffs’ Motion for Summary Judgment is GRANTED.
10              2. The Court DECLARES that Defendants have a mandatory duty to resolve on the
11                  merits the borrower defense applications of members of the Plaintiff Class;

12              3. The Court FURTHER DECLARES that Defendants have failed to fulfill this
13                  mandatory duty with respect to the entire Class, in violation of section 706(1) of

14                  the Administrative Procedure Act;

15              4. The Court FURTHER DECLARES that Defendants’ Form Denial Notices (as
16                  defined in the accompanying Memorandum) violate section 555(e) of the

17                  Administrative Procedure Act and Class members’ rights to procedural due

18                  process, and therefore do not constitute lawful decisions on the merits of Class

19                  members’ borrower defense applications;

20              5. The Court VACATES every Form Denial Notice issued by Defendants, and
21                  reinstates the borrower defense applications of all Class members who received

22                  such a Notice;

23              6. The Court FURTHER DECLARES that the ‘presumption of denial’ policy
24                  adopted by Defendants (as defined in the accompanying Memorandum) is arbitrary,

25                  capricious, an abuse of discretion, and not in accordance with law, in violation of

26                  section 706(2) of the APA, and deprives Class members of their constitutional right

27                  to procedural due process;
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28
                                                  [Proposed] Order on Plaintiffs’ Motion for Summary Judgment
                                                                                   Case No.: 19-cv-03674-WHA
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 1            7. The Court VACATES the ‘presumption of denial’ policy, including all guidance
 2               and/or procedures designed to implement that policy, and ENJOINS Defendants
 3               from applying that policy and associated procedures to evaluate any borrower

 4               defense application, whether previously denied or yet to be decided;

 5            8. The Court ORDERS Defendants to show cause, within 30 days of the entry of this
 6               Order, why each and every Class member’s borrower defense application should

 7               not be granted immediately; and

 8            9. The Court FURTHER DECLARES that, should Defendants show cause why any
 9               Class member’s borrower defense application be denied, Defendants have a legal

10               obligation to provide that Class member with an adequate statement of the grounds

11               for denial pursuant to section 555(e) of the Administrative Procedure Act.

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13   IT IS SO ORDERED.
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     Dated: ____________                                       _______________________
15                                                             William H. Alsup
                                                               United States District Judge
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                                              [Proposed] Order on Plaintiffs’ Motion for Summary Judgment
                                                                               Case No.: 19-cv-03674-WHA
